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Exhibit 9
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Historical View

New Orleans was settled by the French in 1718 on the high
ground adjacent to the Mississippi River-only 14 feet above
sea level. As a result of its unusual topography, the city
was subject to periodic flooding from the Mississippi River
and Lake Pontchartrain, as well as frequent inundation
from the high intensity rainfall.

Often, after one of these floodings, the inhabitants were forced to wade through the
streets or be rowed in small boats to take care of their daily business. As late 1884-
1885 illustrations in’ the daily newspapers showed the main business section
flooded with two to three feet of water as residents waded and rowed through the
streets. It was not uncommon for such regular flooding to last for a week. In fact,
many parts of the city were subjected to periodic flooding even after moderate
rainfall.

Water for drinking or general use was either collected in large cypress cisterns that
stored rain water from the roof tops or taken from the river and allowed to settle in
large earthenware jars. At this time, there were no purification or sterilization
procedures.

Without a municipal water supply, the greater part of the city burned to the ground
in 1788 and again in 1794. Ironically, over 300 billion gallons of water a day were
pouring down the Mississippi less than two blocks from the fire: This amount is
more than the present city uses in six years.

A sewage collection and disposal system was also non-existent. Human waste was
disposed of in the open pit privy, while household wastes found their way into open
gutters. Such unsanitary conditions gave rise to typhoid fever, yellow fever, cholera,
and other diseases, which decimated the population at regular intervals.

These conditions no longer exist.

Today, New Orleans is provided with water, drainage and sewerage facilities 24
hours a day, 365 days a year, where and when they are needed.

The Louisiana Engineering Society, in honor of it's 75th anniversary in 1973,
selected the water, drainage, and sewerage systems of New Orleans as among the
ten most outstanding engineering achievements in the state. This is a great honor
accorded to both our community and the SEWERAGE AND WATER BOARD.

By 1893, it became apparent to city leaders that accommodation of area growth

-would depend on their ability to keep New Orleans drained, dry, adequately

supplied with water for drinking and fire protection, and provided with a sanitary
sewerage system. Planning for the three systems began that year.

In 1896, the New Orleans Drainage Commission was organized to carry outa
master drainage plan that had been developed for the city. Three years later, in
1899, the Sewerage and Water Board was authorized by the Louisiana Legislature
to furnish, construct, operate, and maintain a water treatment and distribution
system and a sanitary sewerage system for New Orleans. In 1903, the Drainage
Commission was merged with the Sewerage and Water Board in order to consolidate
drainage, water, and sewerage programs under one agency for more efficient
operations. This combined organization retained. the title Sewerage and Water
Board, and remains as such today.

The Sewerage and Water Board consists of the Mayor, the two at-large members of
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the board of Liquidation, City Debt, and seven citizen members appointed by the
Mayor, in accordance with the law, for overlapping terms of 9 years. The Board |
holds committee and regular meetings once each month, to which the public is
invited.

Once formally organized, the Sewerage and Water Board set out to fulfill its goals of
providing the city with adequate drainage, sewerage collection, and drinking water.
Between 1879 and 1915, $27,500,000 was spent on the construction of water,
sewerage, and drainage facilities. At that time, funds for construction came from
either a special two-mill tax on all property or one-half of the surplus from the one
per-cent debt tax. Today, the Board gets funding in part from sources which include
the three-, six-, and nine-mill property taxes.

Such extensive construction was a bold step for a city at that time. Present day
construction costs are more than forty times those of the early 1900's. At current
prices, such a program could amount to billions of dollars. Furthermore, this
monumental program was financed by a population of far less than one-half that of
present-day New Orleans.

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Drainage Facts

Because the river levees are higher than the lake levees, most rainwater is
pumped into Lake Pontchartrain. Exceptions are the two (2) West Bank
pumping stations and two (2) stations in Eastern New Orleans that pump
rainwater into the Intracoastal Waterway or the Industrial Canal.

There are 22 Drainage Pumping Stations in New Orleans. Station
personnel are on duty 24-hours a day, seven days a week.

There are also 13 underpass stations, each with two or three pumps, that
are automatically turned on by rising water. These pumps are checked
every day and are monitored by field personnel during rain events.

There are two important underpass pumping stations that are the
responsibility of the State Highway Department and NOT the S&WB.
These are on the west bank at the General DeGaulle underpass at the
Mississippi River Bridge ramps and on the East Bank at the
Pontchartrain Expressway at the Southern Railroad tracks and Metairie
cemeteries.

The system's pumping capacity is over 29 billion gallons a day, enough to
empty a lake 10 square miles by 13.5 feet deep every 24 hours. That flow
rate (over 45,000 cubic feet per second) is more than the flow rate of the
Ohio River, the nation's fifth largest river.

The S&WB's drainage network includes approximately 90 mile of open

-canals and 90 miles of subsurface canals. Many of the subsurface canals

are large enough to drive a bus through.

Generators that provide much of the power for pumps throughout the city
are located at the S&WB power plant.

Operations Department crews watch the canal water level, monitor
weather forecast through a direct tie to the National Weather Service
Radar System, communicate with other stations and senior management,
and keep informed on weather activity around the city. They are
accustomed to handling unexpected deluges.

During a flood, there are often rumors and reports to the S&WB and the
media that pumps or entire pumping stations are out of service for any
one ofa variety of reasons. In fact, this is an extremely rare occurrence
and the media is asked to confirm such reports with the S&WB before
broadcasting them.

A 15-minute video about the S&WB drainage system is
available. Media inquiries should be directed to Mr. Joe
Puglia at the Public Relations Group, Inc., or Ms. Brenda
Thornton of the Communirep, Inc., or the Sewerage and
Water Board of New Orleans Office of Community and
Intergovernmental Relations at 585-2175.

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